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                    UNITED STATES DISTRICT COURT

                          DISTRICT OF OREGON

CONCERNED FRIENDS OF THE
WINEMA, KLAMATH SISKIYOU                             Case No. 1:14-cv-00737-CL
WILDLANDS CENTER, WESTERN
WATERSHEDS PROJECT,                          DEFENDANTS’ REPLY IN
OREGON WILD and CENTER FOR                   SUPPORT OF MOTION TO
BIOLOGICAL DIVERSITY,                        DISSOLVE INJUNCTION

            Plaintiffs,

      v.

UNITED STATES FOREST
SERVICE, a federal agency, and U.S.
FISH & WILDLIFE SERVICE, a
federal agency,

            Defendants.

__________________________________

IVERSON MANAGEMENT LIMITED
PARTNERSHIP,

            Defendant-Intervenor.
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                                 INTRODUCTION

      As Defendants explain below, this Court should dissolve its limited

NFMA injunction against the Forest Service.

      As Plaintiffs acknowledge, this Court’s review “should be limited to the

reasons underlying the previous injunction.” Plaintiffs’ response 3. Here, the

heart of the injunction is a requirement that the Forest Service assess the

actual effects of “current” or status quo grazing in issuing Annual Operating

Instructions (“AOIs”) under the 1995 Allotment Management Plan (“AMP”).

Meeting the injunction, the Forest Service has now studied the instances and

intensity of prior unauthorized grazing in assessing the baseline effects of

current grazing and reached rational species viability findings for such

grazing.

      Notably, Plaintiffs do not challenge the Forest Service’s new

assessment of the effects of status quo grazing or its effects on species

viability. Instead, Plaintiffs attempt to use the limited AOIs injunction as a

short-cut to litigate their disagreements with the Forest Service’s new

allotment management decision that will apply to future Chemult Pasture

grazing. Maintaining the injunction on these grounds exceeds the scope of

the injunction and amounts to an end-run around appropriate judicial review

of the new grazing decision.


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      Defendants are prejudiced by applying the injunction prospectively.

That would go well beyond the existing issues and claims in this action and

effectively invalidate a new, comprehensive grazing framework that is

presumptively valid under the law. It would also incorrectly absolve

Plaintiffs of their burden to establish that the new Forest Service grazing

system decision is arbitrary and capricious.

      Plaintiffs argue that the Magistrate Judge may not decide this motion

regarding the injunction. Plaintiffs’ response at 6. That is at odds with

Plaintiffs’ earlier request that the district court “assign Judge Clarke the role

of supervising compliance with” an injunction. ECF 112 at 37. Nor is there

any need for further briefing, as Defendants are not supplying new factual

evidence or arguments with this reply. This Court should promptly rule on

Defendants’ motion.

            THE SCOPE OF THIS COURT’S NFMA INJUNCTION

      This Court’s injunction required a more accurate measure of the effects

of “current” or status quo grazing prior to further grazing AOIs under the

1995 AMP, but this Court did not endorse closing Chemult Pasture to grazing

altogether. ECF 105 at 14, 18-19, 30-31.

      This Court found that the Forest Service violated NFMA, because the

2012-15 AOIs violated the “viability directive” from the Winema Forest Plan.


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Id. at 14, 18-19. This Court fashioned a limited injunction, but did “not

recommend issuing an injunction closing the Chemult Pasture to grazing

altogether.” Id. at 30.

      In fashioning its limited NFMA injunction, this Court’s concern was the

Forest Service’s failure to account for the effects of actual status quo grazing,

including trespass and other unauthorized grazing. This Court agreed with

Plaintiffs that the Forest Service’s finding lacked “rational support” that

status quo grazing only had minor effects on Oregon spotted frogs and

sensitive species. Id. at 15, 18. According to this Court, “the ‘current grazing’

measurement must accurately reflect actual current grazing to properly

indicate the adverse effects of such grazing on the sensitive species

populations.” Id. at 18. The Forest Service’s “failure to modify its

measurements of ‘current grazing’ . . . to account for cattle trespass and

additional unauthorized grazing lacks any rational basis or justified

reasoning in the record.” Id. at 15-16, 18-19.

      This Court recognized that the Forest Service could typically conduct

its “review of the possible effects of cattle grazing by any reasonable means or

methods” it chooses. Id. at 18. Nevertheless, it found that the agency was

not entitled to “the same deference” in how it measured current grazing,

given its failure to account for important factors. Id.


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      Accordingly, this Court’s injunction barred the Forest Service from

“issuing future AOIs allowing grazing in the Chemult Pasture unless it can

demonstrate that it has accurately measured grazing in the relevant areas

and accordingly determined that such levels of grazing do not contribute to a

negative trend in viability,” per the “directives” in the Winema Forest Plan.

Id. at 19 (emphasis added). See also id. at 30-31.

      This Court’s limitation of its injunction to future AOIs is important

here. As this Court has found, AOIs are issued without specific

environmental reviews and under the direction of an existing AMP. The

Forest Service “prepares AOIs specify[ing] those annual actions that are

needed to implement the management direction set forth in the project-level

NEPA-based decisions.” Id. at 11 (internal quotation omitted). Actions in the

AOIs “are not required to undergo any additional site-specific environmental

analysis.” Id. (internal quotation omitted).

      When this Court reached its injunction, the Forest Service was

allowing status quo grazing under the 1995 AMP, without further public

NEPA review and without an updated AMP. Further, the Forest Service was

not accounting for unauthorized cattle use in measuring the effects of current

grazing. All of this is no longer the case.




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                                    ARGUMENT

   I.     The NFMA injunction should be dissolved, because the
          Forest Service’s assessment of status quo grazing has
          accounted for unauthorized grazing and species viability.

        The Forest Service has shown that it has taken unauthorized use into

account in assessing the effects of status quo grazing, and has demonstrated

that such grazing does not impair species viability. This showing of a

significant factual change warrants dissolution of the limited NFMA

injunction. See Sharp v. Weston, 233 F.3d 1166, 1170 (9th Cir. 2000); Hapner

v. Tidwell, 464 Fed. App’x 679, 680-81 (9th Cir. January 3, 2012)

(memorandum disposition) (dissolving a limited NFMA injunction and

finding that the Forest Service’s “revising [the] methodology” of its analysis

was sufficient).

   A. The Forest Service has corrected the error that prompted the
      injunction.

        After this Court’s AOIs injunction was fashioned, the Forest Service

completed a lengthy public process and authorized a new allotment

management system for future grazing on rangelands including Chemult

Pasture. In reaching that decision, the Forest Service measured the effects of

current grazing -- and accounted for unauthorized cattle use in making this

assessment of the status quo. It also rationally found that such grazing does

not contribute to a negative trend in viability.

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              The Forest Service’s November 2017 Final Environmental Impact

Statement (“FEIS”) took account of the effects of actual status quo grazing.

ECF 136-2 at 43. Specifically, the FEIS cited a study of the extent of

unauthorized grazing over the prior 10 years, and found that this

unauthorized use resulted in 5-10% forage utilization in areas that were

closed to grazing. Id. The FEIS then took this data into account in assessing

the effects of continuing status quo grazing on the federally-listed Oregon

spotted frog. Id. at 175. The FEIS also found that the proposed future

grazing system would not negatively impact the species’ viability. Id. at 177.1

The FEIS also assessed the effects of status quo grazing on fen habitats and

specific sensitive species. Id. at 125-29 (discussing effects of continuing

current grazing (“Alternative 2”) on fen habitats and sensitive plants). It

then reached species-by-species viability findings that continuing current

grazing was not likely to impair sensitive plant viability or sensitive mollusk

viability. Id. at 151-55, 163-64. The FEIS was informed by the Forest

Service botanist’s Biological Evaluation which provided further context and




                                                            
1     The Forest Service’s May 2018 final Record of Decision (“ROD”) also
   made viability findings in choosing to authorize a new system for future
   grazing. ECF 136-3 at pp. 4-5. See also id. at 10-11, 15 (discussion in
   ROD of grazing in frog habitat), id. at 12, 14 (discussion of viability of
   sensitive species).
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detail regarding the effects of status quo grazing on various sensitive species.

See ECF 136-1 at 90-98, 115-22 (tables).

      The Forest Service made a rational assessment of the effects of current

grazing on species viability. When the Forest Service assesses the effects of

activities on species viability, the agency need only “supply a rational

connection between the facts found and the conclusions made.” In re Big

Thorne Project, 857 F.3d 968, 975 (9th Cir. 2017) (internal quotation

omitted). The Ninth Circuit has “repeatedly and emphatically stressed” that

the agency is “not required to identify a specific ‘mechanism’ for securing

viability.” Id.

      The injunction should be dissolved because the Forest Service’s

findings on the effects of current grazing are rational and not arbitrary and

capricious. See Alliance for the Wild Rockies v. Bradford, 864 F. Supp. 2d

1011, 1018 (D. Mont. 2012) (dissolving injunction against the Forest Service

under the “arbitrary and capricious” standard). An agency is arbitrary and

capricious “only if the agency relied on factors Congress did not intend it to

consider, entirely failed to consider an important aspect of the problem, or

offered an explanation that runs counter to the evidence before the agency or

is so implausible that it could not be ascribed to a difference in view or the




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product of agency expertise.” Lands Council v. McNair, 537 F.3d 981, 987

(9th Cir. 2008) (en banc) (internal quotation omitted).

      Plaintiffs’ response does not challenge the Forest Service’s assessment

of status quo grazing – the whole point of the injunction. Plaintiffs do not

even mention, much less challenge, the Forest Service’s study of

unauthorized grazing or its assessment that continuing the status quo would

not impair species viability. Plaintiffs’ response, ECF 138.

      The Forest Service has now assessed status quo grazing based on its

experts’ study of its effects including the impacts of unauthorized grazing. As

this Court recognized in fashioning the earlier injunction, the Forest Service

may conduct its “review of the possible effects of cattle grazing by any

reasonable means or methods” it chooses. ECF 105 at 18. With regard to its

earlier failure to measure unauthorized use in accounting for the effects of

the status quo, the Forest Service has demonstrated that it corrected that

error with a rational analysis.

   B. The administrative backdrop has significantly changed.

      The injunction should also be dissolved because of other significantly

changed circumstances.

      The injunction was issued when the Forest Service was issuing AOIs

under the prior (1995) AMP and in the absence of further public NEPA


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review or site-specific environmental review. See ECF 105 at 11. This Court

found that rather than complete supplemental NEPA analysis in light of the

post-AMP discovery of various species, the Forest Service “only completed the

required AOIs.” Id. The injunction then applied to future AOIs that

authorized annual grazing under the 1995 AMP’s environmental analysis.

Id. at 30-31. In fashioning the injunction, this Court expressed its concern

over the Forest Service’s incomplete NEPA process. Id. at 12.

      Now, the circumstances have changed significantly. The Forest Service

is no longer authorizing Chemult Pasture grazing under AOIs subject to the

injunction but under a brand-new Record of Decision (“ROD”), AMP, and

permits, after completion of an extensive NEPA public process.

   C. Plaintiffs are challenging a new and substantially revised
      grazing system that does not track their claims in this action.

      Plaintiffs’ response essentially challenges the new system that will

apply to future grazing. See infra Argument II. This new approach is

nowhere challenged in this action. To the contrary, this lawsuit challenged

the Forest Service’s failure to complete a new system while still authorizing

status quo grazing. The new grazing system expands the grazing base by

more than 21,000 acres, which is expected to improve livestock distribution

and reduce areas of concentrated use. ECF 136-3 at 7, 9, 13, 14. It also, for

the first time, employs a “deferred” grazing system that specifies periodic rest

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periods for pastures or other areas within the allotment. And, it places the

private inholdings in the Jack Creek area under formal Forest Service

management. Id. at 5, 10. This “cooperative management” step tracks the

longstanding management recommendations for the local Oregon spotted frog

population, and allows the terms and conditions of the new Biological

Opinion to be applied across all portions of the frog’s habitat in the Jack

Creek system. Id. at 10. It is expected to provide for “a greater likelihood of

population recovery.” Id.

      The substantial changes that comprise the new system may be

challenged, under a new action and upon review of a new administrative

record. The new system is the culmination of a comprehensive, new

administrative process and is well beyond the parameters of this action. It is

inappropriate to maintain the injunction.

   D. It is inequitable to maintain the injunction.

      Given all these factual developments, it would be inequitable to

maintain the injunction. This Court already reached a final judgment in this

action and applying the injunction prospectively is no longer equitable. Fed.

R. Civ. P. 60(b)(5).




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      Plaintiffs clearly oppose the new grazing system. Plaintiffs’ response 7.

That being the case, they have an available and appropriate remedy – they

may file a new action.

      Defendants are prejudiced by applying the injunction prospectively.

That would effectively invalidate a new, comprehensive grazing framework

that is the result of its own detailed, lengthy, and public administrative

process. Continuing the injunction would incorrectly flip the presumptive

validity of the FEIS and ROD – and incorrectly absolve Plaintiffs of their

burden to establish that this new “final agency action” was arbitrary and

capricious.

      This Court recognized this important concern in the Mt. Ashland Ski

Area litigation when it dissolved an injunction and required that a new

action be filed against a new agency action. See Wild v. Connaughton, No.

1:05-cv-3004-PA, 2012 WL 12888666 *6 (D. Or. August 17, 2012) (requiring

that a new action be filed, which “serves to preserve the burden of proofs of

the respective parties and ensures the proper deference is accorded to agency

actions and decisions”), aff’d, 575 Fed. App’x 736 (9th Cir. May 23, 2014)

(memorandum disposition). Similarly here, equity counsels that this Court

dissolve the injunction.




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   II.      Plaintiffs’ arguments fail on numerous grounds.

   A. Plaintiffs attempt to use the limited injunction as a vehicle to
      misapply judicial review of a new grazing system decision.

         The injunction targeted shortcomings in how the Forest Service

assessed the effects of status quo grazing in issuing AOIs under the older

environmental reviews conducted for the 1995 AMP. The injunction

addressed a situation where the Forest Service was allowing status quo

grazing without accounting for actual use including unauthorized use.

         Plaintiffs, however, seek to maintain this limited NFMA injunction

well beyond its scope and intent. They do not challenge or identify any

shortcomings with the Forest Service’s assessment of current grazing.

Plaintiffs thereby implicitly concede that the Forest Service’s assessment of

the effects of current grazing was rational and met the point of the

injunction. See Wild, 2012 WL 12888666 at *5 (dissolving injunction after

finding that the agency “corrected the violations noted” and that “in order to

demonstrate the injunction should be dissolved, nothing more is required”).

         Plaintiffs exclusively focus on substantive details of the newly-

authorized, future grazing system for Chemult Pasture, including expected

annual variations in grazing levels, timing, and locations, and the specifics of

new monitoring protocols. See Plaintiffs’ response 9-21. But that has no



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bearing on the Forest Service’s unchallenged assessment of the effects of

status quo grazing.

      Illustratively, Plaintiffs argue that the Forest Service “has not

demonstrated that its [new] mitigation measures to alleviate damage to fens

and Oregon spotted frogs will be effective.” Plaintiffs’ response 1. But this

does not relate to the injunction, because the injunction addressed a failure to

address the level and effects of status quo grazing, not the effectiveness of

new mitigation measures under a new system. Here, this Court’s review “is

limited to the scope of the prior injunction and the injunction order at issue.”

Conservation Congress v. U.S. Forest Service, No. 2:13-cv-1977-JAM-DB,

2018 WL 1142199 at *2 (citing Monsanto v. Geertson Seed Farms, 561 U.S.

139, 162 (2010)). The injunction here plainly did not cover the effectiveness

of future mitigation measures.

      It is inappropriate for Plaintiffs to use the limited injunction as a

vehicle to litigate their disagreements with the new grazing system. “New

claims must be presented through a new action and cannot serve as basis to

deny a request to dissolve the injunction.” Conservation Congress, 2018 WL

1142199 at *2. The instant action challenged prior (2012-15) year-by-year

AOIs under a 1995 AMP, not a brand-new grazing system that is the

culmination of a NEPA process to establish a new AMP. “[A] plaintiff cannot


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raise claims it failed to put the defendant on notice of by its complaint.” Id.

(citing Pickern v. Pier 1 Imports, Inc., 457 F.3d 963, 968 (9th Cir. 2006)).

      This Court’s injunction addressed the Forest Service’s prior

shortcomings in how it measured the baseline effects of status quo grazing in

issuing year-by-year AOIs. But Plaintiffs wrongly seek to expand it

prospectively to enjoin a new system for future Chemult Pasture grazing. See

Plaintiffs’ response 7 (arguing that the “first relevant question” is whether

the new system “accurately reflects the level of grazing that will occur”)

(emphasis added).

      Plaintiffs argue that the new grazing system will impair the viability of

Oregon spotted frogs. See Plaintiffs’ response 17-21. But that has nothing to

do with the injunction, which targeted the shortcomings in the Forest

Service’s assessment of status quo grazing under AOIs. Further, Plaintiffs all

but ignore the detailed rationale provided by the Forest Service for its frog

viability findings under the new grazing system. ECF 136-3 at 4-5, ECF 136-

2 at 177. And Plaintiffs fail to account for any deference in an agency’s

viability findings. See infra Argument II.B; Great Broads for Wilderness v.

Kimbell, 709 F.3d 836, 846 (9th Cir. 2013) (a reviewing court “generally must

be ‘at its most deferential’ when reviewing scientific judgments and technical

analyses within the agency’s expertise”).


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   B. Plaintiffs’ representation of NFMA species-viability standards
      is inaccurate.

      Plaintiffs argue that the Forest Service’s plant viability findings (for

the new grazing system) “contain the same flaws” that Plaintiffs noted

earlier. Plaintiffs’ response 16, 17 (citing ECF 105 at 16). But the Forest

Service did not undertake the “proxy-on-proxy” approach that Plaintiffs

identified. The proxy-on-proxy approach “uses habitat as a proxy to measure

a species’ population and then uses that species’ population as a proxy for the

population of other species.” Native Ecosystems Council v. Tidwell, 599 F.3d

926, 933 (9th Cir. 2010) (internal quotation and alterations omitted). Here,

the Forest Service reached its viability findings after directly measuring

species habitat, distribution and abundance, and known sites/acreage for

each of the sensitive species. The Forest Service did not use one species’

habitat as a proxy for another species. ECF 136-1 at 90-98 (botany report);

ECF 136-2 at 108-12, 151-55 (FEIS). Plaintiffs’ attempt to impose proxy-on-

proxy standards is inappropriate and conflicts with Ninth Circuit precedent

about the standards for Forest Service viability analysis. Plaintiffs’ reply 17;

In re Big Thorne Project, 857 F.3d 968, 975 (9th Cir. 2017) (emphasizing that

in assessing viability, the Forest Service need only “supply a rational

connection between the facts found and the conclusions made”); Alliance for



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the Wild Rockies v. Pena, 865 F.3d 1211, 1220 (9th Cir. 2017) (describing

proxy-on-proxy approach).

   C. Plaintiffs wrongly attempt to sweep in their already-rejected
      NFMA “riparian directive” claim.

      Plaintiffs also attempt to maintain the injunction by arguing about

bare ground in fens and a 10% disturbance threshold, but this information is

well beyond the scope of the injunction. See Plaintiffs’ response 13-14, 15-16.

That is because this Court already rejected Plaintiffs’ NFMA argument about

the Winema Forest Plan “riparian directive” and disturbance levels in fens.

ECF 105 at 17, 18 (noting the Forest Service is entitled to “latitude to

determine whether the conditions of sensitive fens are keeping with” Forest

Plan goals). Plaintiffs’ attempt to resurrect their failed NFMA claim on fens

is no grounds to continue the injunction.

   D. Plaintiffs’ attempt to rely on the Third Declaration of Teresa
      Simpson is inappropriate.

      Plaintiffs’ attempt to use the extra-record Third Declaration of Theresa

Simpson (ECF 139) is also inappropriate. Her commentary does not address

the narrow parameters of the AOIs injunction regarding the proper

accounting of status quo grazing. Further, Ms. Simpson’s observations of

fences and other improvements occurred more than three weeks before the

expected July 2018 livestock turnout, well before the planned maintenance


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and range readiness efforts that allow for appropriate turnout. Further, her

declaration is after the fact of the new ROD, AMP, and permits and therefore

has no bearing on whether the new grazing system decision is arbitrary and

capricious. Plaintiffs acknowledge that judicial review is “based on review of

the administrative record for the new agency actions,” telegraphing that the

Simpson declaration should have no bearing here. Plaintiffs’ response 9 n.3.

As this Court recognized earlier in this case, the Ninth Circuit “applies a

post-decisional bar against extra-record evidence.” ECF 105 at 29 (citing Tri-

Valley CARES v. U.S. Dep’t of Energy, 671 F.3d 1113, 1131 (9th Cir. 2012)).

Law of the case bars the post-decisional Simpson declaration.

   E. Plaintiffs inappropriately attempt to expand the NFMA
      injunction to the U.S. Fish & Wildlife Service’s Biological
      Opinion.

      Plaintiffs argue that reviewing the limited NFMA injunction also

requires judicial review under the Endangered Species Act (“ESA”) of the new

Biological Opinion from the U.S. Fish & Wildlife Service “FWS”). Plaintiffs’

response 22-23. But the prior Biological Opinion was vacated and remanded

under the ESA, not NFMA. There is no ESA injunction in place here, and

NFMA applies to the Forest Service, not the FWS. Plaintiffs cite Swan View

Coalition v. Barbouletos, 2010 WL 11530904 (D. Mont. Jan. 27, 2010), but

that case involved an ESA injunction. If Plaintiffs believe the new Biological


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Opinion has legal deficiencies under the ESA, they may bring a new action

against the presumptively valid new Biological Opinion. “New claims must

be presented through a new action and cannot serve as basis to deny a

request to dissolve the injunction.” Conservation Congress, 2018 WL 1142199

at *2.

                                     CONCLUSION

         For these reasons, this Court should dissolve the NFMA injunction

against the Forest Service.

         DATED this 28th day of June, 2018.


                                              Respectfully submitted,

                                              BILLY J. WILLIAMS
                                              United States Attorney
                                              District of Oregon

                                              /s/ Sean E. Martin
                                              SEAN E. MARTIN
                                              Assistant United States Attorney




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